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                     UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF OREGON
                          PORTLAND DIVISION

BRUCE GILLEY,

      Plaintiff,

v.

TOVA STABIN, Communications                  Case No. 3:22-cv-01181
Manager, University of Oregon
Division of Equity and Inclusion, in
her official and individual capacities,
                                             DECLARATION OF ENDEL KOLDE
      Defendant.                             IN SUPPORT OF MOTION TO
                                             EXPEDITE MPI HEARING AND
                                             EARLY DISCOVERY




I, Endel Kolde, hereby declare that:




KOLDE DECLARATION - 1
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   1. I am an adult and competent to make this declaration. This declaration is

based on personal knowledge and my review of the ECF filings in this case, email

communications sent by the UO legal counsel’s office and putative outside legal

counsel.

   2. I am one of the attorneys representing plaintiff Bruce Gilley in this matter.

   3. I have been practicing law since 1995 and spent over a decade-and-a-half

handling civil litigation matters for a local government entity in Washington state,

where I was frequently asked to accept service on behalf of government employees,

including those sued in their official capacities. It was routine for me to accept

service for such employees.

   4. We filed this lawsuit on August 11, 2022, and it was served on defendant

Tova Stabin later that afternoon as reflected in ECF Nos. 9 and 9-1.

   5. The next day, on August 12, 2022, at noon, I emailed UO’s Deputy General

Counsel Doug Park and the general counsel’s office email of gcounsel@uoregon.edu,

to notify them of the lawsuit and attached a zip file of the ECF filings to date. In

that email, I asked for defense counsel’s availability for the scheduling conference

with the Court and indicated that we wished to schedule the MPI hearing.

   6. Neither Mr. Park nor the UO Legal Counsel’s Office responded to me on that

day, over the weekend or on Monday, August 15, 2022. Similarly, no one told me

that they could not open the zip file or asked for another courtesy copy of any of the

filings, which I would have freely provided.




KOLDE DECLARATION - 2
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   7. Due to reporting in The Oregonian, I learned that Ms. Stabin allegedly

retired at the end of July, based on an out-of-the-office reply received by the

reporter. At the time this lawsuit was filed, she was still listed as the UO DEI’s

Communication Manager on the Division’s official website, as reflected in ECF No.

No 5-3.

   8. On Tuesday, August 16, at 9:39 AM, I again emailed Deputy General Counsel

Park and gcounsel@uoregon.edu, asking for a response to my now-four-day-old

email regarding scheduling the preliminary injunction hearing and I also requested

an early Rule 30(b)(6) deposition, with an attached list of topics. Plaintiff’s counsel

also set a telephonic meet-and-confer for morning of August 17, 2022, but offered to

reschedule it for a more convenient time if needed.

   9. Exhibit A is a true and correct copy of the list of topics that I emailed for the

proposed Rule 30(b)(6) deposition.

   10. This email prompted the email transmission of a letter from UO General

Counsel Kevin Reed, followed by an email response from Doug Park at 12:16 PM.

The gist of both of these communications was that UO had decided to unblock Gilley

and that they wanted plaintiff to dismiss the lawsuit. Doug Park also copied Misha

Isaak and Stephen English of the Perkins Coie law firm, who he indicated might file

a motion to dismiss for UO.

   11. I responded to this email about two hours later and indicated that the case

was not moot, because of the voluntary cessation doctrine, and asking outside




KOLDE DECLARATION - 3
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counsel to enter notices of appearance and participate in the meet-and-confer on

August 17, 2022.

   12. About two hours later, Deputy General Counsel Park responded with

another email indicating he would “confer with our trial counsel on how best to

proceed” and for the first time alleging that the zip file sent on Friday could not be

opened. He also stated that he opposed expedited discovery or seeking a preliminary

injunction.

   13. I responded to this email about half-an-hour later with a link to a

SharePoint folder containing all of the ECF filings and a request that he accept

service on behalf of UO.

   14. Later that evening, at 8:16 PM, Perkins Coie attorney Misha Isaak emailed

me that he and Steven English were traveling out of state and not available for the

meet-and-confer. He did not offer any alternate times or explain why there was no

phone service at his location or explain why being out-of-state would preclude

participation in a phone call. He also did not indicate when he would enter a notice

of appearance.

   15. On August 17, 2022, at 9:29 AM, Deputy General Counsel Park, responded

to my email requesting that he accept service of the lawsuit by insisting that

plaintiff arrange a time to serve a physical hard copy on the office of legal counsel.

   16. The meet-and-confer was set to start one minute later, at 9:30 AM. Both me

and my co-counsel joined the conference line and waited for five minutes, but no

defense counsel joined the call.

KOLDE DECLARATION - 4
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  I declare under penalty of perjury that the foregoing is true and correct.

  Executed on August 17, 2022.



                                             _________________________
                                             ENDEL KOLDE




KOLDE DECLARATION - 5
